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EXHIBIT FF
Case 2;08-cv-01021-PSG-RC Document 9-33 Filed 02/19/08 Page 2of3 Page ID #:331

1 |} Geraldine A. Wyle, State Bar No. 089735 F ] L KK DB

Jeryll S. Cohen, State Bar No. 125392 RIOR COURT
Jetfrey D. Wexler, State Bar No. 132256 LOS ANGELES SUPER
Vivian L. Thoreen, State Bar No. 224162

bho

3 || LUCE, FORWARD, HAMILTON & SCRIPPS LLP FEB 04 2008
601 South Figueroa Street, Suite 3900 JOHN A. CunritE, CLERK

4 || Los Angeles, California 90017 OMadgeh—
Telephone No.: 213.892.4992 BY ANDREA MURDOCK, DEPUTY

5 |; Fax No.: 213.892.7731

6 || Attorneys for James P. Spears,
Temporary Conservator of the Person and
7 || Temporary Co-Conservator of the Estate

8
SUPERIOR COURT OF THE STATE OF CALIFORNIA
9
FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
10
1]
In re the Conservatorship of the Estate of Case No. BP 108870

12

13 || BRITNEY JEAN SPEARS, DECLARATION OF JAMES P. SPEARS
IN SUPPORT OF PETITION FOR

14 APPOINTMENT OF TEMPORARY

Proposed Conservatee. CONSERVATOR

15

16 Date: February 4, 2008
Time: 1:30 p.m.

17 Dept.: 9
Judge: Hon. Reva Goetz, Judge Pro Tem

18

19

20

21

22 I, James P. Spears, declare as follows:

23 1. The statements set forth in this Declaration are based on my own knowledge. If

24 || called as a witness I could and would testify competently to them.

25 2. The purposed of this Declaration is to provide the Court with full disclosure. I am
26 || a recovering alcoholic. At Britney’s urging, in 2004, I entered a rehab facility in Los Angeles

27 || County and have been sober since that time. I am an active member of Alcoholics Anonymous.

28 1

DECLARATION OF JAMES P. SPEARS IN SUPPORT OF PETITION FOR APPOINTMENT OF
TEMPORARY CONSERVATOR

332
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bo

| declare under penalty of perjury under the laws of the State of California that the

3 || foregoing is true and correct. Executed on February 4, 2008 at Los Angeles, California.

Nan - ocase/

6 James P. Spears
j

201013815.1

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28 5

DECLARATION OF JAMES P. SPEARS IN SUPPORT OF PETITION FOR APPOINTMENT OF
TEMPORARY CONSERVATOR

